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June 25, 2025

BY CM/ECF

Molly C. Dwyer, Clerk
United States Court of Appeals
  for the Ninth Circuit
James R. Browning Courthouse
95 7th Street
San Francisco, CA 94103

         Re:               Yukutake v. Lopez, No. 21-16756

Dear Ms. Dwyer:

      This Court’s decision in Nguyen v. Bonta, No. 24-2036, 2025 WL 1718079
(9th Cir. June 20, 2025) does not undermine Defendants’ arguments for rehearing
en banc in this case.

       First, Defendants argue that the Yukutake Panel broke from Supreme Court
precedent by holding that conditions imposed as part of a shall-issue regime are
presumptively invalid. See Pet. 8-10. Defendants also argue that the Yukutake Panel
was unable to achieve a consensus on what legal test governs challenges to the
logistical details of shall-issue regimes. See Pet. 14-15. Nguyen did not involve a
challenge to a shall-issue regime, and so does not affect these arguments in support
of rehearing en banc.

       Second, Defendants argue that the Yukutake Panel broke from Ninth Circuit
precedent by failing to require Plaintiffs to show that the regulations meaningfully
constrain their Second Amendment rights. See Pet. 10-13. On this point, Nguyen
actually supports rehearing. Nguyen, unlike the Yukutake Panel, analyzed whether
the challenged restriction imposed “a meaningful constraint” on purchasing firearms
before shifting the burden to California. See Nguyen, 2025 WL 1718079 at *3.
Nguyen thus confirms Defendants’ reading of B&L Productions v. Newsom, 104


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F.4th 108 (9th Cir. 2024), and exacerbates the intracircuit split in the petition. See
Pet. 11-13.

       Plaintiffs are simply wrong that Nguyen “supports [their] argument that the
two challenged Hawaii laws at issue here meaningfully constrain the acquisition of
firearms.” Dkt. No. 120-1. Nguyen involved a complete ban on purchasing more
than one gun per month; that does not resemble the challenged laws here, which
impose only modest conditions on the purchase of firearms to ensure background
checks do not grow stale and serialization laws are not evaded. If anything, it is
particularly telling that Nguyen did not cite or rely on the lead opinion in Yukutake.

      Finally, to the extent that Plaintiffs read Nguyen to disagree with the Fifth
Circuit’s decision in McRorey v. Garland, 99 F.4th 831 (5th Cir. 2024), that
disagreement is indicative of a circuit split and is a further reason to grant rehearing.
See Pet. 13.

                                                Respectfully submitted,

                                                /s/ Jo-Ann Tamila Sagar
                                                Jo-Ann Tamila Sagar

cc: All Counsel of Record (via CM/ECF)
